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eulDEoNE TAYLoR BALL

CONSTRUCT|ON SERV|CES, INC.,
Plaintiff,

NO. 1-05-1021-T1An

vS. JURY DEMANDED

F|RST BAPT|ST CHURCH OF
SELMER, TENNESSEE,

Defendant, Counter-Plaintiff,
and Third-Party Plaintiff,

VS.

ASKEW HARGRAVES HARCOURT

& ASSOC|ATES, |NC; CURT|SS H. DOSS;
and MCGEHEE, NlCHOLSON, & BURKE,
P.C.,

v\'vvvvvvvvvvwvvvvvvvvvv

Third-Party Defendants.

 

ORDER OF DlSMlSSAL

 

|T APPEARS TO THE COURT that the Defendant/Counter-P|aintiff/Third-Party
F’|aintiff First Baptist Church of Selmer, Tennessee (“First Baptist Church”) voluntarily
dismisses its cause of action against Curtiss H. Doss individual|y. Therefore, First Baptist
Church’s Third-Party Comp|aint against Curtiss H. Doss individually may be dismissed
without prejudicel

lT lS, THEREFORE, CONSIDERED, AND ORDERED that FirSt Baptist Church’S

This document entered on the docket sh et in compliance
with Rule 58 and,'or_?Q [a) FRCP on Z §§ b g 0 5

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07445/59316(RER}
Third-Party Comp|aint against Curtiss H. Doss iridividual|y be` and the same is hereby
dismissed without prejudice at costs of the Defendant/Counter-Plaintiff/Third-Party Plaintiff,

First Baptist Church of Se|mer1 Tennessee.

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 13 in
ease 1:05-CV-01021 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

